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                     UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF TEXAS
                         SAN ANTONIO DIVISION

BEXAR COUNTY HOSPITAL                   )
DISTRICT d/b/a UNIVERSITY               )
HEALTH SYSTEM,                          )
                                        )
      Plaintiff,
                                        )
                                              Civil Action No.
v.                                      )
                                              5:19-cv-00124-FB (HJB)
                                        )
SCHINDLER ELEVATOR                      )
CORPORATION,                            )
                                        )
      Defendant.                        )

                         PLAINTIFF’S ADR REPORT
      Plaintiff Bexar County Hospital District d/b/a University Health System

(“UHS” or “Plaintiff”) files this ADR Report as required by Local Rule CV-88(b)

and the Court’s Scheduling Order [Doc. 16].

      1.     This case involves a dispute between UHS and its former elevator

service company, Defendant Schindler Elevator Corporation (“Schindler” or

“Defendant”).

      2.     The parties participated in a pre-suit mediation on November 30,

2018, with Don Philbin. The parties divided the fee for the mediation equally.

Jeffrey Jowers, Associate General Counsel, and Ed Banos, Chief Operating

Officer, attended the mediation with settlement authority on behalf of UHS. Brian

Boyle attended the mediation as counsel for UHS. David Gold attended as counsel
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for Schindler, and several Schindler representatives, including Michael Shelburne,

attended with settlement authority on behalf of Schindler. The parties were not

able to reach a settlement at the mediation.

       3.     After the mediation was unsuccessful, UHS filed its original petition

in Bexar County District Court, and Schindler subsequently removed the case to

this Court and filed a counterclaim. UHS has answered the counterclaim.

       4.     The parties have continued settlement discussions since the mediation,

but they have not made any meaningful progress. The parties believe that some

discovery and expert consultation may be necessary to guide a potential settlement.

To this end, the parties have commenced written discovery and are preparing to

produce documents.

       5.     The parties believe another mediation in the future may be appropriate

after the parties participate in initial discovery in this case.

       Respectfully submitted on May 17, 2019.




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                                      ATTORNEYS FOR PLAINTIFF,
                                      BEXAR COUNTY HOSPITAL DISTRICT
                                      d/b/a UNIVERSITY HEALTH SYSTEM



                         CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the foregoing has been served

upon all counsel of record via the Court’s electronic case management filing system

on this the 17th day of May 2019.

                                             /s/ Brian C. Boyle
                                                     Brian C. Boyle




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